Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 1 of 16

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

NEW ORLEANS DIVISION
IN RE: FEMA TRAILER MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION SECTION “N-4"
JUDGE ENGELHARDT

MAG. JUDGE ROBY

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DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION

U.S. EXHIBIT NO. 1
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 2 of 16

THE FEDERAL RESPONSE TO

HURRICANE
KATRINA

LESSONS LEARNED

FEBRUARY 2006

WH-00003
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 3 of 16

WH-00004
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 4 of 16

THE WHITE HOUSE
WASHINGTON

February 23, 2006

The President of the United States
The White House
Washington, DC 20500

Dear Mr, President:

Pursuant to your direction, I mest respectfully submit for your consideration: The Federal
Response to Hurricane Katrina: Lessons Learned.

You often remind us that your most sclenm obligation as President is to protect the American
people. And every day and night, millions of men and women throughout the Federal
povernment-— both civilian and nuhtary—-weork to achieve that objective. Given the dangerous
world m which we live, they do an outstanding job.

Despite all we do, however, Hurricane Katrina was a deadly remtndery that we can and must do
better, and we will. This is the first and foremost lesson we learned from the death and
devastation caused by our country’s most destructive natural disaster: No matter how prepared we
think we are, we must work every day to improve.

When you addressed the Nation from Jackson Square, New Orleans, on the evening of September
15, 2005, you ordered a comprehensive review of the Federal response io Hurricane Katrina so
we as a Nation could make the necessary changes to be “better prepared for any challenge of
nature or act of evil men that could threaten our people.” At your direction, we assembled a team
of experienced professionals dedicated to this mission. In addition, we enjoyed a tremendous
partnership with each of your Cabinet Secretaries, without their commitment to this process the
Report would not have been possible.

As part of the review, we visited the hurricane-ravaged Gulf Coast during mid November 2005.
We met with government officials, business and community leaders, and volunteers amudst the
rubble of what had been their homes, schools, and places of worship. Their courage and fortitude
in the face of tragedy was inspirational. And while we were determined to learn the lessons to
improve our future disaster response, it was clear that for residents of the Gulf Coast, survival and
hope still came a day at a time. We were struck by the decency and compassion of those we met
and moved by their continuing emotion and pain. As you know, it is hard for those who have not
witnessed first hand the hurricane’s destruction and its human toll to fully comprehend the
importance of your charge that we prepare to respond more effectively to our fellow citizens in
their times of greatest need.

This Report then is a tribute to those who have served and those who have suffered. We
remember those who lost their lives and all still aflected by this tragedy. Though we can never
replace their unfathomable losses, we have an obligation to continue helping those still suffering
to recover and rebuild their lives.

WH-00005
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 5 of 16

Though there will be tragedies we cannot prevent, we can improve our preparedness and response
to reduce future loss and preserve life. And while we will work diligently to implement
immediate improvements, it is important to recognize that the true transformation envisioned in
this Report will require a sustained commitment over time by the Federal government as weil as
by State and local governments that have essential dutics in responding to disasters, The Report
and recommendations are submitted in the hope of ensuring that the harsh lessons of Hurricane
Katrina need never be learned again.

Thank you for the privilege and the bonor of leading this review.

Sincerely,

Frances Fragos Townsend
Assistant to the President for Homeland Security
and Counterterrorism

WH-00006
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 6 of 16

TABLE OF CONTENTS

FOREWORD v...ccecscesceceeceesecsecsececsensecccecseceneecusevaesesusssueauassssesuvuacuvssssissssessageseecaevneveuevasarssaaseasesuseseasacsccsesusecsecseseasecseseeeraesas l
CHAPTER ONE: KATRINA IN PERSPECTIVE .......00ccccccccesscsesveascsscessevsceesessecsscescussvvssvseevsesauesussueauasesacresvassessesacsastaseesesses 5
CHAPTER TWO: NATIONAL PREPAREDNESS — A. PRIMER oo... cccccsscsscstcuseesevectecccccecseceesesseeeesersrssecsseeeseavecevsseatsesenieecss 1k
CIIAPTER THREE: HURRICANE KATRINA ~~ PRE-LANDEALL. ..0...ccccccscsesesesseecevacecsceseceseeusecececacesenseseceaceacensecsepestsageanese 21
CHAPTER FOUR: A WEEK OF CRISIS — ALMGUST 29 ~ SEPTEMBER 5 ooo..ececicccccessccseseceesercecenseaseenseccersaveaeeesesssenseearens 33
CHAPTER FIVE: LESSONS LEARNED ......0cccccccccccccceececseessvesseeceveeseeceussauscsnssssustavessuausessansessasssatssussntecsavescussseectecseevess 5]
CHAPTER SIX: TRANSFORMING NATIONAL PREPAREDNESS. ......ccccccsssessescssccsscseccecsecenseseesececeasesatecrestareesanceneeessessareess 65
CHAPTER SEVEN: EPILOGUE 0... ..ccccccccccceccceancenrescsevasevsnsvesucssacsussaseusscsssssnessepsaesusessavaeevancensvesesucecseceaeecsesasstiesaneusseaaterses 83
APPENDICES 2.0. ccceceeceeesccsceesecveeesanestesaccsusscsssessessserssesecceesessenseaucavessuseusausvaceaseuieseageneysy ssuvervenssegauensssasssanensvastertcasaerecses 85
Appendix A — Recommendations oo... cccceccccceseeseseeessssseseenseeesesenssesesecsscseatscensesesesessonscseaeresevseeenensutevatesenstes 87
Appendix B — What Went Right 2.2. ccccccccec cece cccecccescense cen sencaeceesveseeeescevaveusesuvervevsciverseveseverersetsvaversees 125
Appendix C — List of ACTOnyMS 0... ccc ete sees sesesceeececeeaeseceescoesscenseseneceaeeacesaecsensetestieecsesrisceseeseseesseesess 145
Appendix D — Staff Page cece cee ccesececececsesecscccaeeessesesesasas cesses easvessessessesssesisessesussseciseeseceeecateeneraerseavans 149
Appendix EB ~ Endnotes oe eccceceecseccsceseseeeseseeeeaeecaececscecaeeecaecenseecreceseeneasavinersanitirsivevserasecsasavavevisassevensnasens 15]

‘THE FEDERAL RESPONST. 'O HURRICANE KATRINA: LESSONS LEARNED
WH-00007
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 7 of 16

WH-000038
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 8 of 16

FOREWORD

On August 23, 2005, Hurricane Katrina formed as a tropical storm off the coast of the Bahamas. Over the next
seven days, the tropical storm grew into a catastrophic hurricane that made landfall first in Florida and then along
the Gulf Coast in Mississippi, Louisiana, and Alabama, leaving a trail of heartbreaking devastation and human
suffering. Katrina wreaked staggering physical destruction along its path, flooded the historic city of New Orleans,
ultimately killed over 1,300 people, and became the most destructive natural disaster in American history.

Awakening to reports of Katrina’s landfall on the Gulf Coast the morning of Monday, August 29, American citizens
watched events unfold with an initial curiosity that soon turned to concern and sotrow. The awe that viewers held
for the sheer ferocity of nature was soon matched with disappointment and frustration at the seeming inability of the
“sovernment”—local, State, and Federal—to respond effectively to the crisis. Hurricane Katrina and the subsequent
sustained flooding of New Orleans exposed significant flaws in Federal, State, and local preparedness for
catastrophic events and our capacity to respond to them. Emergency plans at all levels of government, from small
town plans to the 600-page National Response Plan—the Federal gevernment’s plan to coordinate all its
departments and agencies and integrate them with State, local, and private sector partners—were put to the ultimate
test, and came up short. Millions of Americans were reminded of the need to protect themselves and their families.

Even as paris of New Orleans were still under water, President Bush spoke to the Nation from the city’s historic
Jackson Square. He stated unequivocally, that “[flour years afier the frightening experience of September the 11th,
Americans have every right to expect a more effective response in a time of emergency. When the federal
government fails to meet such an obligation, I, as President, am responsible for the problem, and for the solution.”!

In his address, the President ordered a comprehensive review of the Federal response to Hurricane Katrina so we as
a Nation could make the necessary changes to be “better prepared for any challenge of nature or act of evil men that
could threaten our people.”” The President’s charge has resulted in the material and conclusions of this Report—
The Federal Response to Hurricane Katrina: Lessans Learned.

WHAT WENT WRONG

In general terms, the challenges to our collective response to Hurricane Katrina are not difficult to identify.
Hurricane Katrina, its 115-130 mph winds, and the accompanying storm surge it created as high as 27 feet along a
stretch of the Northern Gulf Coast from Mobile, Alabama, to New Orleans, impacted nearly 93,000 square miles of
our Nation—roughly an area the size of Great Britain. The disaster was not isolated to one town or city, or even one
State. Individual local and State plans, as well as relatively new plans created by the Federal government since the
terrorist attacks on September 11, 2001, failed to adequately account for widespread or simultaneous catastrophes.

We were confronted by the pictures of destroyed towns and cities, each with their own needs. Smaller cities like
Waveland, Mississippi, were completely devastated by Hurricane Katrina and required smaller scale yet immediate
search and rescue efforts as well as large volumes of life saving and sustaining commodities. New Orleans, the
largest affected city—which dominated much of what Americans saw on their televisions---suffered first from the
initial impact of Katrina and then from the subsequent flood caused by breaches in its 350 mile levee system. Over

THE FEDERAL RESPONSE TO HURRICANE KATRINA: LESSONS LEARNED

LL WH-00009
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 9 of 16

FOREWORD

an estimated eighteen-hour period, approximately 80 percent of the city flooded with six to twenty feet of water,
necessitating one of the largest search and rescuc operations in our Nation’s history.

SCOPE AND METHODOLOGY

The President made clear that we must do better in the future. The objective of this Report is to identify and
establish a roadmap on how to do that, and lay the groundwork for transforming how this Nation—from every level
of government to the private sector to individual citizens and communities-—pursues a real and lasting vision of
preparedness. To get there will require significant change to the status quo, to include adjustments to policy,
structure, and mindsef.

While the Report notes that disaster preparedness and response to most incidents remains a State and local
responsibility, this review did not include an assessment of State and local responses. The President specifically
requested that we review the response of the Federal government. Where actions at the State and local level had
bearing on Federal decisions or operations, they are included in order to provide full context. We note that although
incident response remains a State and local responsibility, we must strengthen Federal support for their efforts and
be better prepared for the Federal response to a catastrophic event. Furthermore, we were mindful of how simple
and lucid a situation can appear with the clarity of himdsight. And so, judging in retrospect the decisions made and
actions taken in the midst of a major disasier, without consideration of that fuller context, would have been a
disservice to all. The scope of the review did not focus on recovery operations that continue to this day. Those
important efforts are ongoing and require our continued commitment. Instead, the review’s emphasis centers on
identifying systemic vulnerabilities and gaps in our response and “fixing government.”

The Report ts organized in a manner to give the reader the most comprehensive and clear understanding possible of
what happened during the Federal response to Hurricane Katrina. It begins with a discussion of the magnitude and
complexity of the response challenge by discussing “Katrina in Perspective’—providing an historical comparison
both of the hurricane itself and the resultant flood. Only by understanding what the storm was, and was not, can an
appropriate and measured assessment of the response take place. A National Preparedness “Primer” on the current
Federal framework is then provided to give the reader an understanding of how the current system was supposed to
function. This chapter points out some fundamental confusion in the Federal planning and identifies potential
shortcomings in the applicability of our plans te catastrophic widespread incidents.

Two major chapters of the Report follow with an analytical, narrative chronology that provides a detailed account of
Hurricane Katrina. The first discusses the storm’s development in the days “Pre-Landfall,” and the next chronicles
both the “Week of Crisis” from August 29 through September 5, and concludes with the transition from response to
recovery. We note for the reader that the narrative is not meant to be a comprehensive, definitive account of all that
transpired, and future information inevitably will shed additional light. We then present a detailed chapter on
“Lessons Learned.” Here, we describe the seventeen most critical challenges that were problematic before, during,
and after Hurricane Katrina’s landfall.

We conclude with the most important chapter: “Transforming National Preparedness.” It describes the imperative
and remedies for fixing the problems that Hurricane Katrina exposed. The foundations of the recommended reforms
result in two immediate priorities: We must institutionalize a comprehensive National Preparedness System and
concurrently foster a new, robust Calture of Preparedness.

The Report also contains several appendices, including 125 specific recommendations distilled from a four-month
review. These recommendations are written for policy makers and emergency managers and contain more technical
information not appropriate for the narrative. We have also included some stories of successes and heroic efforts we
encountered by responders, volunteers, agencies, and public officials that must not be overlooked.

CONCLUSION
During.a visit to the Gulf Coast, President Bush put our efforts in perspective, saying, “[o|ne of the lessons of this

storm is the decency of people, the decency of men and women who care a lot about their fellow citizens, whether
they be elected officials or just folks on the ground...trying to make somebody else’s life even better than it was

THE FEDERAL RESPONSE TO HURRICANE KATRINA: LESSONS LEARNED

>. WH-000010
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 10 of 16

FOREWORD

before. So we learned some lessons about how to respond, and we’re going to change. But some of the lessons
shouldn’t change, and that is the decency and character of the American people.”

Hurricane Katrina prompted an extraordinary national response that included ali levels of government—Federal,
State, and local-—the private sector, faith-based and charitable organizations, foreign countries, and individual
citizens. People and resources rushed to the Gulf Coast region to aid the emergency response and meet victims’
needs. Their actions saved lives and provided critical assistance to Hurricane Katrina survivors. Despite these
efforts, the response to Hurricane Katrina fell far short of the seamless, coordinated effort that had been envisioned
by President Bush when he ordered the creation of a National Response Plan in February 2003.7

Yet Katrina creates an opportunity—indeed an imperative—for a national dialogue about true national preparedness,
especially as it pertains to catastrophic events. We are not as prepared as we need to be at all levels within the
country: Federal, State, local, and individual. Hurricane Katrina obligates us to re-examine how we are organized
and resourced to address the fal] range of catastrophic events—both natural and man-made. The storm and its
aftermath provide us with the mandate to design and build such a system.

We hope that this Report marks the beginning of a truly transformational state of preparedness throughout all levels
of our Nation. Hurricane Katrina will undoubtedly be regarded by history as one of the most destructive, costly, and
tragic events our Nation has ever endured. Yet with collective determination, unity of effort, and effective
organizational change, the true legacy of Katrina can be that of a catalyst that triggered a real and lasting
improvement to our national preparedness.

THE FEDERAL RESPONSE TO HURRICANE KATRINA: LESSONS LEARNED
WH-000011
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 11 of 16

WH-000012
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 12 of 16

CHAPTER ONE: KATRINA IN PERSPECTIVE

Hurricane Katrina was one of the worst natural disasters in our Nation's history and has caused unimaginable
devastation and heartbreak throughout the Gulf Coast Region. A vast coastline of towns and communities has
been decimated.

—President George W. Bush, September 8, 2005’

Terrorists still plot their evil deeds, and natures unyielding power will continue. We know with certainty that there
will be tragedies in our future. Our obligation is to work to prevent the acts of evil men; reduce America’s
vulnerability to both the acts of terrorists and the wrath of nature; and prepare ourselves to respond to and recover
from the man-made and natural catastrophes that do occur. The magnitude of Hurricane Katrina does not excuse our
inadeguate preparedness and response, but rather it must serve as a catalyst for far-reaching reform and
transformation. To do this, we must understand Hurricane Katrina in ifs proper context.

HURRICANE KATRINA AMONG OTHER DISASTERS

Hurricane Katrina was the most destructive natural disaster in U.S. history. The overall destruction wrought by
Hurricane Katrina, which was both a large and powerful hurricane as well as a catastrophic flood, vastly exceeded
that of any other major disaster, such as the Chicago Fire of 1871, the San Francisco Earthquake and Fire of 1906,
and Hurricane Andrew in 19922

Hurricane Katrina’s devastating effects were felt before the storm even reached the Gulf Coast on August 29, 2005.
In the Gulf of Mexico, Hurricane Katrina battered the offshore energy infrastructure and forced the evacuation of
more than 75 percent of the Gulf’s 819 manned oil platforms.* Two days before landfall, U.S. energy companies
estimated that the approaching storm had already reduced Gulf of Mexico oil production by more than a third”

Seventy-five hurricanes of Katrina’s strength at landfalf—a Category 3—have hit the mainland United States since
1851, roughly once every two years.” Yet Katrina was anything but a “normal” hurricane. First, Katrina was larger
than most. Hurricane Camille, a Category 5 storm that devastated the Gulf Coast in 1969,” had top wind speeds that
exceeded those of Katrina upon tandfall, but Camille’s hurricane force winds only extended seventy-five miles from
its center,® whereas Katrina’s extended 103 miles from its center.” As a result, Hurricane Katrina’s storm surge
affected a larger area than did Hurricane Camille’s.'° In all, Hurricane Katrina impacted nearly 93,000 square miles
across 138 parishes and counties.’ The extreme intensity that Hurricane Katrina reached before landfali on the Gulf
Coast, as well as its size, meant that its storm surge was consistent with a more powerful storm. In fact, the National
Hurricane Center concluded that the height of Hurricane Katrina and Camille’s respective storm surges were
comparable to each cther.'*

THE PEDERAL RESPONSE TO HURRICANE KATRINA: LESSONS LEARNED

.. WH-000013
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 13 of 16

CHAPTER ONE: KATRINA IN PERSPECTIVE

Hurricane Katrina’s winds and a storm surge that crested up to twenty-seven feet high dealt a ferocicus blew to
homes, businesses, and property on the coast and for many miles inland.’* This storm surge overwhelmed levees all
along the lowest reaches of the Mississippi River and the edges of Lake Pontchartrain.'* The consequences for New
Orleans, which sits mostly below sea level, were dire. Significant levee failures occurred on the 17th Street Canal,
the Industrial Canal, and the London Avenue Canal. Approximately 80 percent of the city was flooded.!*

The flooding destroyed New Orleans, the Nation’s thirty-fifth largest city.'° Much as the fire that burned Chicago in
1871 and the earthquake and fire that leveled San Francisco in 1906 destroyed the economic and cultural centers of
an entire region, so too did Hurricane Katrina destroy what many considered to be the heart of the Gulf Coast. The
destruction aisc called to mind the Galveston Hurricane of 1906, which thoroughly devastated the town of
Galveston. Texas. At the time, Galveston was an economic and cultural center of Texas and was the State’s fourth
largest city.

Even beyond New Orleans, Katrina’s span of destruction was widespread. Indeed, one of the gravest challenges
presented by this particular disaster was the vast geographic distribution of the damage. Towns and cities, smail and
large, were destroyed or heavily damaged up and down the Gulf Coast and miles inland. From Morgan City,
Louisiana, to Biloxi, Mississippi, to Mobile, Alabama, Hurricane Katrina's wind, rain, and storm surge demolished
homes and businesses. Large parts of the coastal areas of these States were devastated. As Mississippi Governor
Haley Barbour stated, “The 80 miles across the Mississippi Gulf Coast is largely destroyed. A town like Waveland,
Mississippi, has no inhabitable structures—none.”*

Hurricane Katrina contradicts one side of an important two-part trend. For at least a century, America’s most severe
natural disasters have become steadily /ess deadly and more destructive of property (adjusted for inflation).’° Figure
1.1 depicts this trend. Yet, Hurricane Katrina net only damaged far more property than any previous natural
disaster, it was also the deadliest natural disaster in the United States since Hurricane San Felipe in 1928. The dark
blue bars in the figure below show the decreasing number of deaths caused by natural disasters in the period from
1900 - 2005. The light blue bars show the increasing amount of damage caused by these same natural disasters
adjusted to third quarter 2005 doflars.”

Figure 1.1 U.S. Natural Disasters that Caused the Most Death and Damage to Property in Each Decade,
1900-2605, with 2004 Major Hurricanes Added”'Damage in Third Quarter 2005 Dollars

Deaths , Damage
10,000 see] $1006
9,060 $806
8,000 mu $808
7,000 $706
6,000 $660 6
5,606 $50 B
4,000 L 3408
3,060 A $308
2,000 : $208
7,000 $10B
THE FEDERAL RESPONSE TO HURRICANE KATRINA: LESSONS LEARNED
WH-000014

-6-
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 14 of 16

CHAPTER ONE: KATRINA IN PERSPECTIVE

MEASURING HURRICANE KATRINA: THE PATH OF DESTRUCTION
Estimating disaster damage is not an exact scfence, and, in the case of Hurricane Katrina, it is further complicated by
ongoing recovery efforts. Estimates vary but, considering property damage alone, Hurricane Katrina is America’s

first disaster—natural or man-made--to approach the $100 billion mark (See Table 1.1).”

Table 1.1 Estimated damage from Hurricane Katrina and the New Orleans Flood”

Housing $67 billion
Consumer durable goods $7 billion
Business property $20 billion
Government property $3 billion
Total $96 billion

Hurricane Katrina devastated far more residential property than had any other recent hurricane, completely
destroying or making uninhabitable an estimated 300,000 homes.”

This far surpasses the residential damage of Hurricane Andrew, which destroyed or damaged approximately 80,000
homes in 1992,%° It even exceeds the combined damage of the four major 2004 hurricanes, Charley, Frances, Ivan,
and Jeanne, which together destroyed or damaged approximately 85,000 homes.** Figure 1.2 charts the effects of
Hurricane Katrina against other major hurricanes in recent U.S. history, comparing homes damaged or destroyed,
property damage, and deaths.

Figure 1.2: Hurricane Katrina Compared to Hurricanes Ivan, Andrew, and Camille’

Katrina (2005)

1,330
Deaths

300,600
Homes

| Homes Damaged or Destroyed EB Property Damage 88 Deaths $06
“* Bitlion
Camille (1969} Andrew (1992} Ivan (2004)
335 79,664 «$33

Deaths Homes Billion

$14.5 Billion

22,008 56

Billion

THE FEDERAL RESPONSE TO HURRICANE KATRINA: LESSONS LEARNED

>. WH-000015
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 15 of 16

CHAPTER ONE: KATRINA IN PERSPECTIVE

Hurricane Katrina’s damage was extensive. The storm destroyed so many homes, buildings, forests, and green
spaces that an extraordinary amount of debris was left behind —] 18 million cubic yards all told’ In comparison,
Hurricane Andrew created 20 million cubic yards of debris.” The debris from Katrina, if stacked onto the space of a
football field, would reach over ten and a half miles high.”

Hurricane Katrina’s effects on the economy have yet to be fully reckoned. The worst consequences were local:
between August and September, the unemployment rate doubled from 6 to 12 percent in the most affected areas of
Louisiana and Mississippi.’' In Louisiana, Mississippi, and Alabama, salaries and wages fell by an estimated $1.2
billion in the third quarter of 2005.** But short-term, economic ripples reached the entire country through the rising
cost of gasoline. The approach of the storm forced ihe temporary shutdown of most crude oil and natural gas
production in the Gulf of Mexico. In the immediate wake of Hurricane Katrina, gasoline prices rose sharply
nationwide.”* The combined effects of Hurricane Katrina and Hurricane Rita, which made landfall on the border
between Texas and Louisiana early on September 24, 2005, were such that, between August 26, 2005, and January
11, 2006, 114 miflion barrels of oi] production capacity were left unused, equivalent to over one-fifth of yearly
output in the Gulf of Mexico.”

The storm devastated the regional power infrastructure. In Louisiana, Mississippi, and Alabama, approximately 2.5
million power customers reported cutages.*> By contrast, Hurricane Ivan denied 1.8 million customers power.”°

Communications suffered as well. The storm crippled thirty-eight 911 call centers, disrupting local emergency
services,’ and knocked out more than 3 million customer phone lines in Louisiana, Mississippi, and Alabama.”*
Broadcast communications were likewise severely affected, as 50 percent of area radio stations and 44 percent of
area television stations went off the air.”

Much more than any other hurricane, Katrina’s wrath went far beyond wind and water damage. In fact, Hurricane
Katrina caused at least ten oil spills, releasing the same quantity of oil as some of the worst oil spills in U.S. history.
Louisiana reported at least six major spills of over 100,000 galions and four medium spills of over 10,000 gallons.*”
All told, more than 7.4 million gallons poured into the Gulf Coast region’s waterways, over two thirds of the amount
‘that spilled out during America’s worst oil disaster, the rupturing of the Exxon Valdez tanker off the Alaskan coast in
1989."

The wave of destruction created environmental and health hazards across the affected region, including standing
water, oil pollution, sewage, household and industrial chemicals, and both human and animal remains. The storm
surge struck 466 facilities that handle large amounts of dangerous chemicals, thirty-one hazardous waste sites, and
sixteen Superfund toxic waste sites, three of which flooded. The surge also destroyed or compromised 170 drinking
water facilities and dozens of wastewater treatment facilities.”

Most terrible of all and most difficult to measure, however, were Hurricane Katrina’s human effects.
MEASURING THE IMMEASURABLE: THE HUMAN TOLL

When the winds and floods of Hurricane Katrina subsided, an estimated 1,330 people were dead as a result of the
storm.” The vast majority of the fatalities—an estimated 80 percent—came from the New Orleans metropolitan
area; Mississippi suffered greatly as well, with 231 fatalities.’ Many of the dead were elderly or infirm. In
Louisiana, approximately 71 percent of the victims were older than sixty, and 47 percent of those were over seventy-
five.” At least sixty-eight were found in nursing homes, some of whom were allegedly abandoned by their
caretakers."° Of the total known fatalities, there are almost two hundred unclaimed bodies remaining at the Victim
Identification Center in Carville, Louisiana.*” As awful as these horrifying statistics are, unfortunately they are not
the end of the story. As of February 17, 2006, there were still 2,096 people from the Gulf Coast area reported
missing.”

For the survivors, the aftermath of Hurricane Katrina has been characterized by a mixture of grief, anxiety, and
frustration. Around 770,000 people were displaced —the largest since the Dust Bowl migration from the southern
Great Plains region in the 1930s. After Hurricane Katrina, housing options often arrived slowly to those who
could not return to their ruined homes; by the end of October, there were still more than 4,500 people staying in

THE FEDERAI RESPONSE TG HURRICANE KATRINA: LESSONS LEARNED

&. WH-000016
Case 2:07-md-01873-KDE-MBN Document 196-4 Filed 05/18/08 Page 16 of 16

CHAPTER ONE: KATRINA IN PERSPECTIVE

shelters. The numbers of evacuees residing in such transient emergency shelters had dropped significantly by
January 2006, and families have siowly begun to find permanent housing.”

Moreover, many victims fourd it difficult to reconstruct their shattered fives. In many cases, they had either lost or
forgotten basic documenis, such as insurance information, birth certificates, and marriage licenses, which would
later prove essential to rebuilding their lives.*' Most of the evacuees did not have access to their medical records,
which increased the risk of complications when receiving medical treatment.’ For those who returned to their
homes in the Gulf region, basic services were still wanting. By January, 85 percent of public schools in Orleans
parish had still not reopened; in the metropolitan area, approximately two-thirds of the retail food establishments,
half of the bus routes, and half of the major hospitals remained closed.”’ For Katrina’s victims, a sense of “back to
norma?” stil] seems far away.

Of the |.1 million people over the age of sixteen who evacuated in August 2005, approximately 500,000 of those
evacuees had not returned home by late December. For the evacuees who have not returned to their homes, jobs
have been scarce. Their unemployment rate was just below 28 percent in November and over 20 percent in
December. The former evacuees who did return to their homes in the Gulf region had better access to work with an
unemployment rate of 12.5 percent in November, which fell tc 5.6 percent in December.’ In July, before Katrina
hit, the unemployment rate in the most affected areas of Louisiana and Mississippi had been 6 percent.”

By any measure, Hurricane Katrina was a nationai catastrophe. Similar to the images of grief and destruction an
September 11, 2001, the images of suffering and despair from Hurricane Katrina are forever seared into the hearts
and memories of all Americans. Those painful images must be the catalyst for change.

THE FEDERAL RESPONSE TO HURRICANE KATRINA: LESSONS LEARNED

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